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                                                                    1 Jeffrey I. Golden, State Bar No. 133040
                                                                      jgolden@wgllp.com
                                                                    2 Beth E. Gaschen, State Bar No. 245894
                                                                      bgaschen@wgllp.com
                                                                    3 WEILAND GOLDEN GOODRICH LLP
                                                                      650 Town Center Drive, Suite 600
                                                                    4 Costa Mesa, California 92626
                                                                      Telephone 714-966-1000
                                                                    5 Facsimile      714-966-1002

                                                                    6 Attorneys for Chapter 7 Trustee
                                                                      David M. Goodrich
                                                                    7

                                                                    8                         UNITED STATES BANKRUPTCY COURT

                                                                    9                          CENTRAL DISTRICT OF CALIFORNIA

                                                                   10                                   LOS ANGELES DIVISION

                                                                   11 In re                                       Case No. 2:17-bk-24396-ER
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 CRESTALLIANCE, LLC,                         Chapter 7
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13               Debtor.

                                                                   14
                                                                      DAVID M. GOODRICH, solely in his               Adv. No.
                              Tel 714-966-1000




                                                                   15 capacity  as Chapter  7  Trustee of the Estate
                                                                      of Crestalliance, LLC,                         COMPLAINT FOR DECLARATORY
                                                                   16                                                RELIEF
                                                                                    Plaintiff,
                                                                   17
                                                                             v.
                                                                   18
                                                                      NANCY LIU,
                                                                   19
                                                                                    Defendant.
                                                                   20

                                                                   21

                                                                   22

                                                                   23

                                                                   24

                                                                   25

                                                                   26

                                                                   27

                                                                   28
                                                                        1232180.1                                1                             COMPLAINT
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                                                                    1 TO DEFENDANT, AND HER COUNSEL, IF ANY:

                                                                    2           David M. Goodrich, the duly appointed, qualified, and acting chapter 7 trustee

                                                                    3 (“Trustee” or “Plaintiff”) for the bankruptcy estate (“Estate”) of Crestalliance, LLC

                                                                    4 (“Debtor”), hereby files this Complaint for Declaratory Relief (“Complaint”) against Nancy

                                                                    5 Liu (“Defendant”), and respectfully alleges as follows:

                                                                    6                         STATEMENT OF JURISDICTION AND VENUE
                                                                    7           1.    The Bankruptcy Court has jurisdiction over this adversary proceeding

                                                                    8 pursuant to 28 U.S.C. §§ 157 and 1334 and 11 U.S.C. §§ 105. This is a core proceeding

                                                                    9 pursuant to 28 U.S.C. §§ 157(b)(2)(A), (K), and (O). Regardless of whether this is a core

                                                                   10 proceeding, consent is hereby given to the entry of final orders and judgment by the

                                                                   11 Court. Defendant is hereby notified that Fed. R. Bankr. P. 7008 requires Defendant to
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                                                Fax 714-966-1002




                                                                   12 admit or deny whether this adversary proceeding is core or non-core and, if non-core, to
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 plead whether consent is given to the entry of final orders and judgment by the Court.

                                                                   14           2.    Venue properly lies in this judicial district in that the civil proceeding arises
                              Tel 714-966-1000




                                                                   15 under title 11 of the United States Code (the “Bankruptcy Code”) as provided in 28 U.S.C.

                                                                   16 § 1409.

                                                                   17           3.    This adversary proceeding arises out of and relates to the case entitled In re

                                                                   18 Crestalliance, LLC, a chapter 7 case bearing case number 2:17-bk-24396-ER, currently

                                                                   19 pending in the United States Bankruptcy Court, Central District of California, Los Angeles

                                                                   20 Division, the Honorable Ernest M. Robles presiding. Accordingly, venue in this Court is

                                                                   21 proper under 28 U.S.C. § 1409(a).

                                                                   22                              PARTIES AND CASE BACKGROUND
                                                                   23           4.    Plaintiff is informed and believes and based thereon alleges that on

                                                                   24 November 22, 2017, the Debtor filed a voluntary petition under chapter 11 of the

                                                                   25 Bankruptcy Code.

                                                                   26           5.    Plaintiff is informed and believes and based thereon alleges that Rebecca

                                                                   27 Chiu and Daniel Chiu (the “Chius”) are listed as the only members of the Debtor.

                                                                   28
                                                                        1232180.1                                      2                                      COMPLAINT
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                                                                    1           6.    Plaintiff is informed and believes and based thereon alleges that on

                                                                    2 December 14, 2017, the Office of the United States Trustee (“OUST”) filed a motion to

                                                                    3 dismiss or convert the case, which was granted on January 17, 2018. The case was

                                                                    4 ordered converted from one under chapter 11 to one under chapter 7 of the Bankruptcy

                                                                    5 Code.

                                                                    6           7.    Plaintiff was appointed as the chapter 7 trustee on January 17, 2018.

                                                                    7           8.    Plaintiff is informed and believes and based thereon alleges that Defendant

                                                                    8 is an individual who resides at 200 S. Garfield Ave. #203, Alhambra, California 91801.

                                                                    9                                  GENERAL ALLEGATIONS
                                                                   10           9.    Plaintiff incorporates each and every allegation contained in paragraphs 1

                                                                   11 through 8 as though fully set forth herein.
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12           10.   Plaintiff is informed and believes and based thereon alleges that the Debtor
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 filed its schedules of assets and liabilities (the “Schedules”) on December 5, 2017. In

                                                                   14 Schedule A, the Debtor lists an interest in real property located at 1806 S. Chapel
                              Tel 714-966-1000




                                                                   15 Avenue, Alhambra, California 91801 (the “Property”). The Property consists of three

                                                                   16 units. The Debtor listed the value of the Property at $400,000. A true and correct copy of

                                                                   17 the Debtor’s Schedule A/B is attached as Exhibit “1.”

                                                                   18           11.   Plaintiff is informed and believes and based thereon alleges that on

                                                                   19 Schedule D, the Debtor lists “Ocwen” as holding a first priority deed of trust against the

                                                                   20 Property in the amount of $442,988. The Debtor did not schedule any other entity or

                                                                   21 person as holding a lien against the Property. A true and correct copy of the Debtor’s

                                                                   22 Schedule D is attached as Exhibit “2.”

                                                                   23           12.   Defendant has not filed a proof of claim in the bankruptcy case. A true and

                                                                   24 correct copy of the Court’s claim register is attached as Exhibit “3.”

                                                                   25           13.   On March 6, 2018, the Trustee filed his Application to Employ Neiman

                                                                   26 Realty, Inc. as Real Estate Broker to Market and Sell Real Properties (the “Application”),

                                                                   27 seeking to employ Neiman Realty, Inc. (the “Broker”) to act as the Estate’s real estate

                                                                   28 broker for the purpose of marketing and selling each of the properties listed in the
                                                                        1232180.1                                    3                                  COMPLAINT
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                                                                    1 Debtor’s Schedules, including the Property. The Application was approved by order

                                                                    2 entered on March 28, 2018.

                                                                    3             14.     Plaintiff is informed and believes and based thereon alleges that according

                                                                    4 to a Preliminary Title Report prepared by First American Title Company with an effective

                                                                    5 date of June 18, 2018 (the “Title Report”), the following items were recorded against the

                                                                    6 Property:

                                                                    7    Recording      Lien Holder                           Type of            Document         Lien Amount
                                                                         Date                                                 Encumbrance        Number
                                                                    8    1/24/2007      Mortgage Electronic Registration      Deed of Trust      XX-XXXXXXX       $417,000.001
                                                                                        Systems, Inc., solely as nominee      (the “Ocwen
                                                                    9                   for T.J. Financial, Inc., which has   Lien”)
                                                                                        been assigned to OneWest Bank
                                                                   10                   FSB c/o Ocwen Loan Servicing,
                                                                                        LLC (“Ocwen”)
                                                                   11    2/4/2016       Nancy Liu, a married woman as         Deed of Trust      16-128885        $45,000.00
                                                                                        her sole and separate property        (the “Liu Lien”)
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                         1/4/2017       Jingyuan Huang, a single woman        Deed of Trust      17-10595         $100,000.00
                                                                   12
                               650 Town Center Drive, Suite 600




                                                                                                                              (the “Huang
                                  Costa Mesa, California 92626




                                                                                                                              Lien”)
                                                                   13    2/15/2017      Wei Jiang                             Lis Pendens        17-185834
                                                                         3/20/2018      Shanghai Overseas Affairs Service     Lis Pendens        18-264552
                                                                   14                   Center Co. Ltd., et al.
                                                                         3/20/2018      Wen Bai                               Lis Pendens        18-266467
                              Tel 714-966-1000




                                                                   15    5/4/2018       Franchise Tax Board                   Lien (the “FTB     18-438302        $4,775.27
                                                                                                                              Lien”)
                                                                   16

                                                                   17
                                                                        A copy of the Title Report is attached as Exhibit “4.”
                                                                   18
                                                                                  15.     On July 26, 2018, the Trustee filed his Amended Motion for Order: (1)
                                                                   19
                                                                        Authorizing Sale of Real Property Free and Clear of Liens, Claims, and Interests Pursuant
                                                                   20
                                                                        to 11 U.S.C. §§ 363(b) and (f); (2) Approving Overbid Procedures; (3) Approving Buyer,
                                                                   21
                                                                        Successful Bidder, and Back-Up Bidder as Good Faith Purchaser Pursuant to 11 U.S.C.
                                                                   22
                                                                        § 363(m); and (4) Authorizing Payment of Undisputed Liens, Real Estate Broker’s
                                                                   23
                                                                        Commissions and Other Ordinary Costs of Sale (the “Sale Motion”).
                                                                   24

                                                                   25

                                                                   26

                                                                   27
                                                                            1
                                                                                According to the motion for relief from the automatic stay filed by Ocwen on June 4, 2018, as Docket
                                                                   28 No. 70, Ocwen’s total claim as of June 1, 2018, is $470,093.51.
                                                                        1232180.1                                              4                                         COMPLAINT
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                                                                    1           16.   The sale of the Property to Yunying Chen for the purchase price of

                                                                    2 $1,170,000 was approved by order entered August 27, 2018. A true and correct copy of

                                                                    3 the sale order is attached as Exhibit “5.”

                                                                    4           17.   The Trustee sold the Property free and clear of the Liu Lien with the unpaid

                                                                    5 portions of the Liu Lien attaching to the net sale proceeds in the same extent, validity, and

                                                                    6 priority as the lien existed against the Property as of the time of the sale, subject to any

                                                                    7 and all rights of the Trustee to object to, dispute, or subordinate such lien.

                                                                    8           18.   Defendant was served with the Sale Motion and did not file an opposition.

                                                                    9                                   FIRST CLAIM FOR RELIEF
                                                                   10                                     (For Declaratory Relief)
                                                                   11           19.   Plaintiff repeats and realleges the allegations in paragraphs 1 through 18
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 above, as though fully set forth herein.
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13           20.   A dispute exists between Plaintiff and Defendant over the existence and

                                                                   14 validity of the Liu Lien.
                              Tel 714-966-1000




                                                                   15           21.   The Debtor did not schedule the Liu Lien and the Trustee has no

                                                                   16 documentation to prove that a loan was made and actually funded. Defendant has never

                                                                   17 provided the Trustee with any evidence of a loan made to the Debtor.

                                                                   18           22.   Plaintiff contends that the there was no underlying loan which would have

                                                                   19 led to the recording of the Liu Lien.

                                                                   20           23.   Plaintiff seeks a determination that (a) the Liu Lien has a value of $0; (b) the

                                                                   21 Estate funds held by the Trustee are not subject to the Liu Lien; and (c) Defendant is not

                                                                   22 entitled to a distribution from the Estate.

                                                                   23                                   RESERVATION OF RIGHTS
                                                                   24           24.   Plaintiff reserves his right to amend this Complaint, to include, among other

                                                                   25 things: (i) further information regarding the Liu Lien; (ii) modifications of and revisions to

                                                                   26 Defendant’s name; (iii) additional defendants; and (iv) additional causes of action, that

                                                                   27 may become known to Plaintiff at any time during this adversary proceeding through

                                                                   28 formal discovery or otherwise, and for the amendments to relate back to this Complaint.
                                                                        1232180.1                                     5                                    COMPLAINT
                                                                   Case 2:19-ap-01290-ER         Doc 1 Filed 08/29/19 Entered 08/29/19 15:50:13            Desc
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                                                                    1           25.   Plaintiff reserves the right to bring all other claims or causes of action that

                                                                    2 Plaintiff may have against Defendant, on any and all grounds, as allowed under the law or

                                                                    3 in equity.

                                                                    4           WHEREFORE, Plaintiff prays that this Court enter a judgment against Defendant
                                                                    5 as follows:

                                                                    6                                  On the First Cause of Action
                                                                    7           For a judgment declaring and stating: (a) the Liu Lien has a value of $0; (b) the

                                                                    8 Estate funds held by the Trustee are not subject to the Liu Lien; and (c) Defendant is not

                                                                    9 entitled to a distribution from the Estate.

                                                                   10                                     On All Claims for Relief
                                                                   11           For such other and further relief as this Court deems just and proper.
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 Dated: August 29, 2019                          WEILAND GOLDEN GOODRICH LLP

                                                                   14
                                                                                                                      By: /s/ Beth E. Gaschen
                              Tel 714-966-1000




                                                                   15
                                                                                                                          JEFFREY I. GOLDEN
                                                                   16                                                     BETH E. GASCHEN
                                                                                                                          Attorneys for Chapter 7 Trustee
                                                                   17                                                     and Plaintiff, David M. Goodrich

                                                                   18

                                                                   19

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                                                                        1232180.1                                      6                                    COMPLAINT
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                                        1 Filed  09/27/17
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                                                                             21:15:43 Desc
                                                                                      Desc
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                                                            8    38
                                                                 50
  Fill in this information to identify the case:

               CRESTALLIANCE, LLC
  Debtor name __________________________________________________________________

                                          CENTRAL
  United States Bankruptcy Court for the:_______________________              CA
                                                                 District of ________
                                                                             (State)
                              17-bk-24396-ER
                              17-20450
  Case number (If known):     _________________________                                                                               Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

   
   ✔      No. Go to Part 2.
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                                     0.00
                                                                                                                                  $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
         WELLS FARGO - AZUSA
   3.1. _________________________________________________    DIP ACCOUNT
                                                          ______________________               9
                                                                                               ____ 2 ____
                                                                                                    ____ 6 ____
                                                                                                            0                                     25.00
                                                                                                                                  $______________________
         WELLS FARGO - SAN MARINO
   3.2. _________________________________________________    DIP ACCOUNT
                                                          ______________________                9 ____
                                                                                               ____  0 ____
                                                                                                         6 ____
                                                                                                            2                                     25.00
                                                                                                                                  $______________________


4. Other cash equivalents (Identify all)
        WELLS FARGO-DIP ACCOUNT                    LAST FOUR 9302
   4.1. _____________________________________________________________________________________________________                                     25.00
                                                                                                                                  $______________________
         BANK OF AMERICA ACCOUNT (TO BE CLOSED AND TRANSFER)
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1                                                                                                                             7,890.00
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

   
   ✔      No. Go to Part 3.
         Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit

   7.1. ________________________________________________________________________________________________________                   $______________________
   7.2._________________________________________________________________________________________________________                   $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                    page 1
                                                                 EXHIBIT 1, PAGE 7
           Case
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             Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment

   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                                    0.00
                                                                                                                                 $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?
    ✔ No. Go to Part 4.
    
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........ Î                $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........ Î                $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                                   0.00
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    
    ✔ No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:

   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________   $_______________________
   16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                              7,965.00
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 2
                                                                   EXHIBIT 1, PAGE 8
           Case
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Debtor       CRESTALLIANCE, LLC                 Main
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                                                                                Case35
                                                                                    38
                                                                                     50
                                                                                     number            17-20450
                                                                                                       17-bk-24396-ER
                                                                                            (if known)_____________________________________
             Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    
    ✔ No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last     Net book value of     Valuation method used     Current value of
                                                    physical inventory   debtor's interest     for current value         debtor’s interest
                                                                         (Where available)
19. Raw materials
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________


23. Total of Part 5                                                                                                                       0.00
                                                                                                                        $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    
    ✔ No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                Net book value of     Valuation method used     Current value of debtor’s
                                                                         debtor's interest     for current value         interest
                                                                         (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________         $________________     ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

   ______________________________________________________________         $________________     ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

   ______________________________________________________________         $________________     ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________         $________________     ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________         $________________     ____________________    $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                          page 3
                                                                 EXHIBIT 1, PAGE 9
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                                                                                                       17-20450
                                                                                            (if known)_____________________________________
             Name




33. Total of Part 6.                                                                                                                          0.00
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    
    ✔ No. Go to Part 8.
     Yes. Fill in the information below.

   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture

   ______________________________________________________________              $________________   ____________________     $______________________

40. Office fixtures

   ______________________________________________________________              $________________   ____________________     $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________   ____________________     $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
                                                                                                                                              0.00
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                            page 4
                                                                 EXHIBIT 1, PAGE 10
           Case
           Case2:17-bk-20450-ER
                  2:17-bk-24396-ER
                   2:19-ap-01290-ER Doc        Doc25 10     Filed 08/29/19
                                                      1 Filed      09/27/17
                                                                   12/05/17 Entered
                                                                             Entered 08/29/19
                                                                                         09/27/17
                                                                                         12/05/1715:50:13  12:37:34
                                                                                                            21:15:43 Desc  Desc
                                                                                                      17-bk-24396-ER
                                                                                                       17-20450
 Debtor      CRESTALLIANCE,         LLC         Main
                                               Main     Document
                                                       Document
             _______________________________________________________
             Name
                                                                        Page
                                                                       Page  69
                                                                             12  of
                                                                                  of
                                                                                Case35
                                                                                    38
                                                                                     50
                                                                                     number (if known)_____________________________________




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

    
    ✔ No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________   ____________________    $______________________

   47.2___________________________________________________________          $________________   ____________________    $______________________

   47.3___________________________________________________________          $________________   ____________________    $______________________

   47.4___________________________________________________________          $________________   ____________________    $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________    ____________________    $______________________

   48.2__________________________________________________________          $________________    ____________________    $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________    ____________________    $______________________

   49.2__________________________________________________________          $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________    ____________________    $______________________


51. Total of Part 8.
                                                                                                                                          0.00
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
                                                               EXHIBIT 1, PAGE 11
           Case
           Case2:17-bk-20450-ER
                  2:17-bk-24396-ER
                   2:19-ap-01290-ER Doc        Doc25 10     Filed 08/29/19
                                                      1 Filed      09/27/17
                                                                   12/05/17 Entered
                                                                             Entered 08/29/19
                                                                                        09/27/17
                                                                                        12/05/17          12:37:34
                                                                                                           21:15:43 Desc
                                                                                                          15:50:13
                                                                                                      17-bk-24396-ER
                                                                                                                          Desc
Debtor        CRESTALLIANCE, LLC                Main
                                               Main     Document
                                                       Document
             _______________________________________________________    Page
                                                                       Page  10
                                                                             7
                                                                             13 of
                                                                                 of
                                                                               Case35
                                                                                    38
                                                                                    50
                                                                                    number            17-20450
                                                                                           (if known)_____________________________________
             Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
    
    ✔ Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
         1804-1806 S. Chapel, Alhambra
    55.1________________________________________             Fee Simple
                                                            _________________       1,000,000.00
                                                                                  $_______________     ____________________              400,000.00
                                                                                                                                $_____________________

         592-594 East 6th Azusa, Ca
    55.2________________________________________             Fee Simple
                                                            _________________        550,000.00
                                                                                  $_______________     ____________________              100,000.00
                                                                                                                                $_____________________

         2395 Roanoke Rd., San Marino,
    55.3________________________________________             Fee Simple
                                                            _________________       2,200,000.00
                                                                                  $_______________     ____________________              200,000.00
                                                                                                                                $_____________________

    55.4________________________________________            _________________     $_______________     ____________________     $_____________________

    55.5________________________________________            _________________     $_______________     ____________________     $_____________________

    55.6________________________________________            _________________     $_______________     ____________________     $_____________________


56. Total of Part 9.
                                                                                                                                         700,000.00
                                                                                                                                $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
    
    ✔     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         No
    
    ✔     Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
    
    ✔ No. Go to Part 11.
     Yes. Fill in the information below.
   General description                                                           Net book value of    Valuation method         Current value of
                                                                                  debtor's interest    used for current value   debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
    ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.
                                                                                                                                                0.00
                                                                                                                                $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                            page 6
                                                                    EXHIBIT 1, PAGE 12
             Case
             Case2:17-bk-20450-ER
                    2:17-bk-24396-ER
                     2:19-ap-01290-ER Doc        Doc25 10     Filed 08/29/19
                                                        1 Filed      09/27/17
                                                                     12/05/17 Entered
                                                                               Entered 08/29/19
                                                                                          09/27/17
                                                                                          12/05/1715:50:13  12:37:34
                                                                                                             21:15:43 Desc  Desc
                CRESTALLIANCE, LLC                                                                      17-bk-24396-ER
                                                                                                        17-20450
Debtor                                            Main
                                                 Main     Document
                                                         Document
               _______________________________________________________
               Name
                                                                          Page
                                                                         Page  11
                                                                               8
                                                                               14 of
                                                                                   of
                                                                                 Case35
                                                                                      38
                                                                                      50
                                                                                      number (if known)_____________________________________




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔    No
        Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔    No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
        No
    
    ✔    Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    
    ✔     No. Go to Part 12.
         Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                    _______________     –   __________________________         =Î   $_____________________
    ______________________________________________________
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     Insurance proceeds to vendor Servpro
    ______________________________________________________________                                                                              35,000.00
                                                                                                                                    $_______________________
    Nature of claim                    Water Damage
                                      ___________________________________

    Amount requested                        35,000.00
                                      $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                  $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                     $_____________________
   ____________________________________________________________                                                                     $_____________________
78. Total of Part 11.
                                                                                                                                              35,000.00
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
        No
        Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 7
                                                                 EXHIBIT 1, PAGE 13
             Case
             Case2:17-bk-20450-ER
                    2:17-bk-24396-ER
                     2:19-ap-01290-ER Doc        Doc25 10     Filed 08/29/19
                                                        1 Filed      09/27/17
                                                                     12/05/17 Entered
                                                                               Entered 08/29/19
                                                                                          09/27/17
                                                                                          12/05/1715:50:13  12:37:34
                                                                                                             21:15:43 Desc  Desc
Debtor         CRESTALLIANCE, LLC                 Main
                                                 Main     Document
                                                         Document
               _______________________________________________________    Page
                                                                         Page  12
                                                                               9
                                                                               15 of
                                                                                   of
                                                                                 Case35
                                                                                      38
                                                                                      50
                                                                                      number            17-20450
                                                                                                       17-bk-24396-ER
                                                                                             (if known)_____________________________________
               Name




Part 12:        Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                       7,890.00
                                                                                                       $_______________


81. Deposits and prepayments. Copy line 9, Part 2.                                                                 0.00
                                                                                                       $_______________


82. Accounts receivable. Copy line 12, Part 3.
                                                                                                                   0.00
                                                                                                       $_______________


83. Investments. Copy line 17, Part 4.                                                                        7,965.00
                                                                                                       $_______________

84. Inventory. Copy line 23, Part 5.                                                                              0.00
                                                                                                       $_______________

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                     0.00
                                                                                                       $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                                   0.00
                                                                                                       $_______________
    Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.
                                                                                                                  0.00
                                                                                                       $_______________


88. Real property. Copy line 56, Part 9. . .................................................................................. Î                  700,000.00
                                                                                                                                             $________________

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                 0.00
                                                                                                       $_______________


90. All other assets. Copy line 78, Part 11.                                                      +         35,000.00
                                                                                                       $_______________


91. Total. Add lines 80 through 90 for each column. ........................... 91a.                        50,855.00
                                                                                                       $_______________           +   91b.       700,000.00
                                                                                                                                             $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................           750,855.00
                                                                                                                                                                 $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
                                                                                 EXHIBIT 1, PAGE 14
Case 2:19-ap-01290-ER   Doc 1 Filed 08/29/19 Entered 08/29/19 15:50:13   Desc
                        Main Document    Page 16 of 50




                          EXHIBIT 2
              Case
               Case2:17-bk-20450-ER
                      2:17-bk-24396-ER
                       2:19-ap-01290-ER Doc      Doc25
                                                    10   Filed 08/29/19
                                                     1 Filed   09/27/17
                                                               12/05/17 Entered
                                                                         Entered 08/29/19
                                                                                  09/27/17
                                                                                  12/05/1715:50:13
                                                                                           12:37:34
                                                                                           21:15:43 Desc
                                                                                                    Desc
  Fill in this information to identify the case:
                                                 Main Document      Page 10
                                                                         13
                                                                         17 of 35
                                                                               38
                                                                               50

               CRESTALLIANCE, LLC
  Debtor name __________________________________________________________________
  United States Bankruptcy Court for the: CENTRAL                            CA
                                          ______________________ District of _________
                                                                                        (State)
                               17-bk-24396-ER
                                17-20450-ER
  Case number (If known):      _________________________                                                                                               Check if this is an
                                                                                                                                                           amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
       No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
    
    ✔   Yes. Fill in all of the information below.

 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim           Value of collateral
                                                                                                                                Do not deduct the value   that supports this
                                                                                                                                of collateral.            claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      BSI
     __________________________________________
                                                                1 TD on San Marino Property 2395
                                                                ___________________________________________________     1,400,000.00
                                                                                                                    $__________________                       2,200,000.00
                                                                                                                                                           $_________________

    Creditor’s mailing address                                  Roanoke Road, San Marino, Ca 91108
                                                                ___________________________________________________
     P.O.BOX         660605 DALLAS, TX
     ________________________________________________________   ___________________________________________________
     75266
     ________________________________________________________   Describe the lien
                                                                  First Deed of Trust
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                ✔   No
                                                                   Yes

    Date debt was incurred          10/2016
                                    __________________          Is anyone else liable on this claim?

    Last 4 digits of account
                                                                
                                                                ✔   No
    number                   3102
                             ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                           Contingent
    
    ✔ Yes. Specify each creditor, including this creditor,
                                                                   Unliquidated
             and its relative priority.                         
                                                                ✔   Disputed
              QING TAO
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     QINT TAO
     __________________________________________                 Second Deed of Trust on 2395 Roanoke
                                                                ___________________________________________________       500,000.00
                                                                                                                    $__________________                       2,200,000.00
                                                                                                                                                           $_________________

    Creditor’s mailing address                                  Road, San Marino, Ca 91108
                                                                ___________________________________________________
     68   W. Las Flores Ave, Arcadia, Ca
     ________________________________________________________   ___________________________________________________
     91007
     ________________________________________________________   Describe the lien
                                                                  2nd Deed of Trust
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                ✔   No
                                                                   Yes

    Date debt was incurred          04/2017
                                    __________________          Is anyone else liable on this claim?

    Last 4 digits of account
                                                                
                                                                ✔   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
    
    ✔ Yes. Have you already specified the relative                 Unliquidated
             priority?                                             Disputed
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                  BSI
                  _________________________________
                  _________________________________
            Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                   1,900,000.00
                                                                                                                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of ___
                                                                           EXHIBIT 2, PAGE 15
               Case
               Case2:17-bk-20450-ER
                      2:17-bk-24396-ER
                       2:19-ap-01290-ER Doc         Doc2510     Filed 08/29/19
                                                          1 Filed       09/27/17
                                                                        12/05/17 Entered
                                                                                 Entered 08/29/19
                                                                                           09/27/17
                                                                                           12/05/17        12:37:34
                                                                                                           21:15:43 Desc
                                                                                                          15:50:13
                                                                                                      17-bk-24396-ER      Desc
                 CRESTALLIANCE, LLC                                                                   17-20450-ER
  Debtor
                                                    Main Document
                 _______________________________________________________
                 Name                                                       Page 11
                                                                                 14Case
                                                                                 18 of number
                                                                                        35
                                                                                        38 (if known)_____________________________________
                                                                                        50

                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

      Ocwen
     __________________________________________                  292-594 East 6th Street, Azusa, Ca 91702
                                                                ___________________________________________________
                                                                                                                                      426,357.00
                                                                                                                                $__________________          100,000.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

     P.O.    Box 24738 West Palm Beach,
     ________________________________________________________
                                                                ___________________________________________________

     Florida,     33416
     ________________________________________________________   Describe the lien
                                                                  First Deed of Trust
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                ✔   No
                                                                   Yes


    Date debt was incurred           2011
                                     __________________         Is anyone else liable on this claim?
                                                                ✔
    Last 4 digits of account
                                                                   No
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    number                    7640
                             ___ ___ ___ ___

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    ✔ No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien


      Ocwen
     __________________________________________
                                                                 1804-1806-1808 South Chapel Avenue,
                                                                ___________________________________________________
                                                                                                                                      442,988.00
                                                                                                                                $__________________          400,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address
                                                                 Alhambra, California 91801
                                                                ___________________________________________________

                                                                ___________________________________________________
     P.O.    Box 24738 West Palm Beach,
     ________________________________________________________

     Florida,     33416
     ________________________________________________________   Describe the lien
                                                                  First Deed of Trust
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                ✔   No
                                                                   Yes

    Date debt was incurred           2010
                                     __________________         Is anyone else liable on this claim?
                                                                ✔
    Last 4 digits of account
                                                                   No
    number                   0809
                             ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
    
    ✔ Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   Jane Huang
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___ of ___
                                                                           EXHIBIT 2, PAGE 16
            Case
            Case2:17-bk-20450-ER
                 2:17-bk-24396-ER
                 2:19-ap-01290-ER Doc
                                  Doc25
                                      10  Filed 08/29/19
                                       1 Filed  09/27/17
                                                12/05/17 Entered
                                                          Entered 08/29/19
                                                                   09/27/17
                                                                   12/05/1715:50:13
                                                                             12:37:34
                                                                             21:15:43 Desc
                                                                                        Desc
                                  Main Document      Page 12
                                                          15 of 35
                                                          19    38
                                                                50       17-bk-24396-ER
Debtor            CRESTALLIANCE, LLC
                 _______________________________________________________                                                                        17-20450-ER
                                                                                                                         Case number (if known)_____________________________________
                 Name



Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                                      On which line in Part 1     Last 4 digits of
         Name and address
                                                                                                                                      did you enter the           account number
                                                                                                                                      related creditor?           for this entity
    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
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Form 206D                                Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                               page ___ of ___
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                          EXHIBIT 4
Case 2:19-ap-01290-ER                      Doc 1 Filed 08/29/19 Entered 08/29/19 15:50:13                                             Desc
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CLTA Preliminary Report Form                                                             Order Number: O-SA-5735910
(Rev. 11/06)                                                                              Page Number: 1




                                    First American Title Company
                                                        4 First American Way
                                                        Santa Ana, CA 92707
                                          California Department of Insurance License No. 151

Antonia Delgado
A & A Escrow Services, Inc
415 North Crescent Drive, Suite 320
Beverly Hills, CA 90210
Phone: (310)550-6055
Fax:
Customer Reference:                                       104275-AA
Order Number:                                             O-SA-5735910 (dt)

Title Officer:                                             Debbie Tognetti
Phone:                                                     (714)250-8579
Fax No.:                                                   (714)481-2956
E-Mail:                                                    FAHQ-RA-octitle3@firstam.com

Buyer:
.
                                                          Chen
Property:                                                 1806 S. Chapel Avenue
                                                          Alhambra, CA 91801

                                                    PRELIMINARY REPORT

In response to the above referenced application for a policy of title insurance, this company hereby reports that it is prepared to
issue, or cause to be issued, as of the date hereof, a Policy or Policies of Title Insurance describing the land and the estate or
interest therein hereinafter set forth, insuring against loss which may be sustained by reason of any defect, lien or encumbrance not
shown or referred to as an Exception below or not excluded from coverage pursuant to the printed Schedules, Conditions and
Stipulations of said Policy forms.

The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or policies are set forth in
Exhibit A attached. The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less than that set
forth in the arbitration clause, all arbitrable matters shall be arbitrated at the option of either the Company or the Insured as the
exclusive remedy of the parties. Limitations on Covered Risks applicable to the CLTA and ALTA Homeowner's Policies of Title
Insurance which establish a Deductible Amount and a Maximum Dollar Limit of Liability for certain coverages are also set forth in
Exhibit A. Copies of the policy forms should be read. They are available from the office which issued this report.

Please read the exceptions shown or referred to below and the exceptions and exclusions set forth in Exhibit A of
this report carefully. The exceptions and exclusions are meant to provide you with notice of matters which are not
covered under the terms of the title insurance policy and should be carefully considered.

It is important to note that this preliminary report is not a written representation as to the condition of title and
may not list all liens, defects, and encumbrances affecting title to the land.

This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the issuance of a policy of
title insurance and no liability is assumed hereby. If it is desired that liability be assumed prior to the issuance of a policy of title
insurance, a Binder or Commitment should be requested.




                                                         First American Title
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 Dated as of June 18, 2018 at 7:30 A.M.

 The form of Policy of title insurance contemplated by this report is:

 ALTA/CLTA Homeowner's (EAGLE) Policy of Title Insurance (2013) and ALTA Ext Loan Policy 1056.06
 (06-17-06) if the land described is an improved residential lot or condominium unit on which there is
 located a one-to-four family residence; or ALTA Standard Owner's Policy 2006 (WRE 06-17-06) and the
 ALTA Loan Policy 2006 (06-17-06) if the land described is an unimproved residential lot or condominium
 unit

 A specific request should be made if another form or additional coverage is desired.

 Title to said estate or interest at the date hereof is vested in:




     Daniel C. Chiu And Rebecca C. Chiu, Husband And Wife As Joint Tenants, subject to proceedings
     pending in the Bankruptcy Court of the U.S. BANKRUPTCY COURT CENTRAL DISTRICT OF
     CALIFORNIA (LOS ANGELES) District of the U. S. District Court, California entitled in re:
     CRESTALLIANCE, LLC, debtor, Case No. 2:17-BK-24396-ER, wherein a petition for relief was filed on
     November 22, 2017, subject to exception nos. 6, 7, 8, 9, 20 and 21

 The estate or interest in the land hereinafter described or referred to covered by this Report is:

     FEE

 The Land referred to herein is described as follows:

 (See attached Legal Description)

 At the date hereof exceptions to coverage in addition to the printed Exceptions and Exclusions in said
 policy form would be as follows:


1.   General and special taxes and assessments for the fiscal year 2018-2019, a lien not yet due or
     payable.

2.   The lien of defaulted taxes for the fiscal year 2014-2015, and any subsequent delinquencies.

     Tax Rate Area:             01-01797
     A. P. No.:                 5359-028-037
     Amount to redeem:          $2,457.17
     Valid through:             JUNE 2018
     Amount to redeem:          $
     Valid through:
     Please contact the tax office to verify the payoff amount.



                                               First American Title
                                                    Page 2 of 18

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                                                                      Order Number: O-SA-5735910
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3.   The lien of supplemental taxes, if any, assessed pursuant to Chapter 3.5 commencing with Section 75
     of the California Revenue and Taxation Code.

4.   An easement for UNDERGROUND ELECTRICAL SUPPLY SYSTEMS and incidental purposes in the
     document recorded September 11, 1990 as INSTRUMENT NO. XX-XXXXXXX of Official Records.

5.   A deed of trust to secure an original indebtedness of $417,000.00 recorded January 24, 2007 as
     INSTRUMENT NO. 07-146497 OF OFFICIAL RECORDS.
     Dated:                             January 15, 2007
     Trustor:                           DANIEL C. CHIU AND REBECCA C. CHIU, HUSBAND AND WIFE
                                        AS JOINT TENANTS
     Trustee:                           INVESTORS TITLE CORPORATION, A CALIFORNIA
                                        CORPORATION
     Beneficiary:                       MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC.
     LENDER:                            T.J. FINANCIAL, INC.

     According to the public records, the beneficial interest under the deed of trust has been assigned
     to OCWEN LOAN SERVICING, LLC by various assignments, the last of which was recorded September
     18, 2013 as INSTRUMENT NO. XX-XXXXXXX of Official Records.


     A document recorded April 13, 2017 as INSTRUMENT NO. 17-410122 OF OFFICIAL RECORDS
     provides that BARRETT DAFFIN FRAPPIER TREDER & WEISS, LLP was substituted as trustee under
     the deed of trust.

     A notice of default recorded April 20, 2017 as INSTRUMENT NO. 17-435989 OF OFFICIAL RECORDS.

     A notice of trustee's sale recorded August 02, 2017 as INSTRUMENT NO. 17-871665 OF OFFICIAL
     RECORDS.

     The interest of MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. ("MERS"), SOLELY AS
     NOMINEE FOR T.J. FINANCIAL INC., ITS SUCCESSORS AND/OR ASSIGNS under said Assignment
     of DEED OF TRUST was purportedly assigned to ONEWEST BANK FSB by document recorded January
     30, 2018 as instrument no 18-98243 of Official Records.

     At the date of recording of the document, the parties thereto had no record interest in the land.

6.   The effect of a deed dated May 26, 2009, executed by DANIEL C. CHIU AND REBECCA C. CHIU,
     HUSBAND AND WIFE AS JOINT TENANTS, as Grantor, to LI HUI LO, A SINGLE WOMAN, as Grantee,
     recorded May 28, 2009, as INSTRUMENT NO. 09-786266 of Official Records.

     The requirement that this office be furnished with the evidence that the deed was an absolute
     conveyance for value, and that there are no other agreements, oral or written, regarding the
     ownership of the land described herein.

     NOTE: Unable to verify if the above referenced "uninsured" deed is a valid transfer.

7.   The effect of a deed dated July 07, 2010, executed by LI HUI LO, A SINGLE WOMAN, as Grantor, to
     DANIEL C. CHIU AND REBECCA C. CHIU, HUSBAND AND WIFE AS JOINT TENANTS, as Grantee,
     recorded July 09, 2010, as INSTRUMENT NO. 10-939287 of Official Records.




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      The requirement that this office be furnished with the evidence that the deed was an absolute
      conveyance for value, and that there are no other agreements, oral or written, regarding the
      ownership of the land described herein.

      NOTE: Unable to verify if the above referenced "uninsured" deed is a valid transfer.

 8.   The effect of a deed dated August 17, 2011, executed by DANIEL C. CHIU AND REBECCA C. CHIU,
      HUSBAND AND WIFE AS JOINT TENANTS, as Grantor, to RHEMATA, LLC, as Grantee, recorded
      December 13, 2011, as INSTRUMENT NO. XX-XXXXXXX of Official Records.

      The requirement that this office be furnished with the evidence that the deed was an absolute
      conveyance for value, and that there are no other agreements, oral or written, regarding the
      ownership of the land described herein.

      NOTE: Unable to verify if the above referenced "uninsured" deed is a valid transfer.

 9.   The effect of a deed dated March 20, 2015, executed by RHEMATA, LLC, as Grantor, to
      CRESTALLIANCE, LLC, as Grantee, recorded May 14, 2015, as INSTRUMENT NO. 15-562348 of
      Official Records.

      The requirement that this office be furnished with the evidence that the deed was an absolute
      conveyance for value, and that there are no other agreements, oral or written, regarding the
      ownership of the land described herein.

      NOTE: Unable to verify if the above referenced "uninsured" deed is a valid transfer.

10.   A deed of trust to secure an original indebtedness of $45,000.00 recorded February 04, 2016 as
      INSTRUMENT NO. 16-128885 OF OFFICIAL RECORDS.
      Dated:                             February 02, 2016
      Trustor:                           CRESTALLIANCE, LLC
      Trustee:                           CHICAGO TITLE COMPANY, A CALIFORNIA CORPORATION
      Beneficiary:                       NANCY LIU, A MARRIED WOMAN AS HER SOLE AND
                                         SEPARATE PROPERTY



      Notes:
      a. If this deed of trust is to be eliminated in the policy or policies contemplated by this
      report/commitment, we will require all of the following prior to the recordation of any documents or
      the issuance of any policy of title insurance:
      i. Original note and deed of trust.
      ii. Payoff demand statement signed by all present beneficiaries.
      iii. Request for reconveyance signed by all present beneficiaries.
      b. If the payoff demand statement or the request for reconveyance is to be signed by a servicer, we
      will also require a full copy of the loan servicing agreement executed by all present beneficiaries.
      c. If any of the beneficial interest is presently held by trustees under a trust agreement, we will
      require a certification pursuant to Section 18500.5 of the California Probate Code in a form
      satisfactory to the Company

      The effect of a document entitled "SUBSTITUTION OF TRUSTEE AND FULL RECONVEYANCE",
      recorded October 05, 2016 as INSTRUMENT NO. XX-XXXXXXX of Official Records.

      Note: The Company will require satisfactory proof of full payment of the debt secured by said
      mortgage or deed of trust prior to removing this exception or insuring the contemplated transaction.



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11.   A deed of trust to secure an original indebtedness of $100,000.00 recorded JANUARY 04, 2017 as
      INSTRUMENT NO. 17-10595 OF OFFICIAL RECORDS.
      Dated:                             JANUARY 01, 2017
      Trustor:                           CRESTALLIANCE, LLC
      Trustee:                           CHICAGO TITLE COMPANY, A CALIFORNIA CORPORATION
      Beneficiary:                       JINGYUAN HUANG, A SINGLE WOMAN



      Notes:
      a. If this deed of trust is to be eliminated in the policy or policies contemplated by this
      report/commitment, we will require all of the following prior to the recordation of any documents or
      the issuance of any policy of title insurance:
      i. Original note and deed of trust.
      ii. Payoff demand statement signed by all present beneficiaries.
      iii. Request for reconveyance signed by all present beneficiaries.
      b. If the payoff demand statement or the request for reconveyance is to be signed by a servicer, we
      will also require a full copy of the loan servicing agreement executed by all present beneficiaries.
      c. If any of the beneficial interest is presently held by trustees under a trust agreement, we will
      require a certification pursuant to Section 18500.5 of the California Probate Code in a form
      satisfactory to the Company

12.    Notice of pendency of action recorded February 15, 2017 as INSTRUMENT NO. 17-185834 of Official
      Records.

      Court:         SUPERIOR COURT OF THE STATE OF CALIFORNIA - COUNTY OF
                     LOS ANGELES - CENTRAL DISTRICT
      Case No.:      BC642350
      Plaintiff:     WEI JIANG, AN INDIVIDUAL
      Defendant:     ARC-I, LIMITED PARTNERSHIP, A CALIFORNIA LIMITED
                     PARTNERSHIP; OASIS GROWTH PARTNERS, LLC, A CALIFORNIA
                     LIMITED LIABILITY COMPANY; THE BASSIST CORPORATION, A
                     CALIFORNIA CORPORATION; DANIEL CHIU, AN INDIVIDUAL;
                     REBECCA C. CHIU, AN INDIVIDUAL; DANIEL CHIU, AN
                     INDIVIDUAL; REBECCA CHIU, AN INDIVIDUAL; CRESTALLIANCE,
                     LLC, A CALIFORNIA LIMITED LIABILITY COMPANY; STAVROS,
                     LLC, A CALIFORNIA LIMITED LIABILITY COMPANY; RHEMATA
                     LLC, A CALIFORNIA LIMITED LIABILITY COMPANY; CENTRAL
                     ESCROW, INC., A CALIFORNIA CORPORATION; AND DOES 1
                     THROUGH 50, INCLUSIVE
      Purpose:       ACTUAL VOIDABLE TRANSFER PURSUANT TO CALIFORNIA CIVIL
                     CODE § 3439.04(A)(1) AND CONSTRUCTIVE VOIDABLE
                     TRANSFER PURSUANT TO CALIFORNIA CIVIL CODE §
                     3439.04(A)(2) WHICH ASSERT A REAL PROPERTY CLAIM

13.   Proceedings pending in the Bankruptcy Court of the U.S. BANKRUPTCY COURT CENTRAL DISTRICT
      OF CALIFORNIA (LOS ANGELES) District of the U.S. District Court, California, entitled in re:
      CRESTALLIANCE, LLC, debtor, Case No. 2:17-BK-24396-ER, wherein a petition for relief was
      filed under Chapter 7 on November 22, 2017.




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14.   Notice of pendency of action recorded March 20, 2018 as INSTRUMENT NO. 18-264552 of Official
      Records.

      Court:        SUPERIOR COURT OF THE STATE OF CALIFORNIA - COUNTY OF
                    LOS ANGELES - GLENDALE COURTHOUSE
      Case No.:     EC066074
      Plaintiff:    SHANGHAI OVERSEAS AFFAIRS SERVICE CENTER CO. LTD, A
                    FOREIGN COMPANY, PLAINTIFF; IRIS LIU, AN INDIVIDUAL; L.A.
                    LIFE, LLC, A DELAWARE LIMITED LIABILITY COMPANY;
                    AMERICAN ASIA HOLDINGS, LLC, A CALIFORNIA LIMITED
                    LIABILITY COMPANY, CROSS-COMPLAINANTS
      Defendant:    OASIS GROWTH PARTNERS, LLC D/B/A ALLIANCE
                    REGIONALCENTER (ARC), A CALIFORNIA LIMITED LIABILITY
                    COMPANY; OASIS GROWTH PARTNERS II, LLC D/B/A ARC, A
                    CALIFORNIA LIMITED LIABILITY COMPANY; OASIS GROWTH
                    PARTNERS DEVELOPMENT, INC. D/B/A ARC, A CALIFORNIA
                    COMPANY; CRESTALLIANCE LLC, A CALIFORNIA LIMITED
                    LIABILITY COMPANY; DANIEL C. CHIU, AN INDIVIDUAL;
                    REBECCA C. CHIU, AN INDIVIDUAL; IRIS LIYA LIU, AN
                    INDIVIDUAL; L.A. LIFE, LLC D/B/A ARC, A DELAWARE LIMITED
                    LIABILITY COMPANY; AMERICAN ASIA HOLDINGS, LLC D/B/A
                    ARC, A CALIFORNIA LIMITED LIABILITY COMPANY; AND DOES 1
                    THROUGH 50 INCLUSIVE, DEFENDANTS; DANIEL C. CHIU, AN
                    INDIVIDUAL; OASIS GROWTH PARTNERS, LLC D/B/A ARC-1
                    LIMITED PARTNERSHIP, A CALIFORNIA LIMITED LIABILITY
                    COMPANY; OASIS GROWTH PARTNERS, LLC D/B/A ALLIANCE
                    REGIONALCENTER(ARC), A CALIFORNIA LIMITED LIABILITY
                    COMPANY; OASIS GROWTH PARTNERS II, LLC D/B/A ALLIANCE
                    REGIONAL CENTER, A CALIFORNIA LIMITED LIABILITY
                    COMPANY; OASIS GROWTH PARTNERS DEVELOPMENT, INC,
                    D/B/A ALLIANCE REGIONAL CENTER, A CALIFORNIA
                    CORPORATION; CRESTALLIANNCE, LLC, A CALIFORNIA LIMITED
                    LIABILITY COMPANY; STAVROS, LLC, A CALIFORNIA LIMITED
                    LIABILITY COMPANY; RHEMATA, LLC, A CALIFORNIA LIMITED
                    LIABILITY COMPANY; REBECCA C. CHIU, AN INDIVIDUAL; AND
                    DOES 1 THROUGH 50 INCLUSIVE, CROSS-DEFENDANTS
      Purpose:      ACTUAL VOIDABLE TRANSFER PURSUANT TO CALIFORNIA CIVIL
                    CODE § 3439.04(A)(1) WHICH ASSERT A REAL PROPERTY CLAIM




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15.   Notice of pendency of action recorded March 20, 2018 as INSTRUMENT NO. 18-266467 of Official
      Records.

      Court:         SUPERIOR COURT OF THE STATE OF CALIFORNIA - COUNTY OF
                     LOS ANGELES - CENTRAL DISTRICT
      Case No.:      BC689149
      Plaintiff:     WEN BAI, AN INDIVIDUAL
      Defendant:     ARC-I, LIMITED PARTNERSHIP, A CALIFORNIA LIMITED
                     PARTNERSHIP; OASIS GROWTH PARTNERS, LLC, A CALIFORNIA
                     LIMITED LIABILITY COMPANY; THE BASSIST CORPORATION, A
                     CALIFORNIA CORPORATION; DANIEL C. CHIU AKA DANIEL CHIU,
                     AN INDIVIDUAL; REBECCA C. CHIU AKA REBECCA CHIU, AN
                     INDIVIDUAL; CRESTALLIANCE, LLC, A CALIFORNIA LIMITED
                     LIABILITY COMPANY; STAVROS, LLC, A CALIFORNIA LIMITED
                     LIABILITY COMPANY; RHEMATA LLC, A CALIFORNIA LIMITED
                     LIABILITY COMPANY; AND DOES 1 THROUGH 50, INCLUSIVE
      Purpose:       ACTUAL VOIDABLE TRANSFER PURSUANT TO CALIFORNIA CIVIL
                     CODE § 3439.04(A)(1) AND CONSTRUCTIVE VOIDABLE
                     TRANSFER PURSUANT TO CALIFORNIA CIVIL CODE §
                     3439.04(A)(2) WHICH ASSERT A REAL PROPERTY CLAIM

16.   A LIEN IN FAVOR OF THE STATE OF CALIFORNIA, EVIDENCED BY A CERTIFICATE ISSUED BY THE
      FRANCHISE TAX BOARD , RECORDED MAY 4, 2018 AS INSTRUMENT NO. 18-438302 OF OFFICIAL
      RECORDS.

  DEBTOR:                           REBECCA C CHIU
  CERTIFICATE NO.:                  18123699012
  AMOUNT:                           $4,775.27 , AND ANY OTHER AMOUNTS DUE THEREUNDER.


17.   Any defects, liens, encumbrances or other matters which name parties with the same or similar
      names as DANIEL C. CHIU. The name search necessary to ascertain the existence of such matters
      has not been completed. In order to complete this preliminary report or commitment, we will require
      a statement of information.

18.   Water rights, claims or title to water, whether or not shown by the public records.

19.   This transaction may be subject to a confidential order issued pursuant to the Bank Secrecy Act.
      Information necessary to comply with the confidential order must be provided prior to the closing.
      This transaction will not be insured until this information is submitted, reviewed and found to be
      complete.

      Prior to the issuance of any policy of title insurance, the Company will require:




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  20.   With respect to RHEMATA, LLC AND CRESTALLIANCE, LLC, a limited liability company:
        a. A copy of its operating agreement and any amendments thereto;
        b. If it is a California limited liability company, that a certified copy of its articles of organization (LLC-
        1) and any certificate of correction (LLC-11), certificate of amendment (LLC-2), or restatement of
        articles of organization (LLC-10) be recorded in the public records;
        c. If it is a foreign limited liability company, that a certified copy of its application for registration
        (LLC-5) be recorded in the public records;
        d. With respect to any deed, deed of trust, lease, subordination agreement or other document or
        instrument executed by such limited liability company and presented for recordation by the Company
        or upon which the Company is asked to rely, that such document or instrument be executed in
        accordance with one of the following, as appropriate:
        (i) If the limited liability company properly operates through officers appointed or elected pursuant to
        the terms of a written operating agreement, such document must be executed by at least two duly
        elected or appointed officers, as follows: the chairman of the board, the president or any vice
        president, and any secretary, assistant secretary, the chief financial officer or any assistant treasurer;
        (ii) If the limited liability company properly operates through a manager or managers identified in the
        articles of organization and/or duly elected pursuant to the terms of a written operating agreement,
        such document must be executed by at least two such managers or by one manager if the limited
        liability company properly operates with the existence of only one manager.
        e. Other requirements which the Company may impose following its review of the material required
        herein and other information which the Company may require

  21.   With respect to RHEMATA, LLC, a certificate of revivor and a certificate of relief from contract
        voidability issued by the Franchise Tax Board of the State of California.




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                                         INFORMATIONAL NOTES

 Note: The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less
 than the certain dollar amount set forth in any applicable arbitration clause, all arbitrable matters shall be
 arbitrated at the option of either the Company or the Insured as the exclusive remedy of the parties. If
 you desire to review the terms of the policy, including any arbitration clause that may be included,
 contact the office that issued this Commitment or Report to obtain a sample of the policy jacket for the
 policy that is to be issued in connection with your transaction.



1.   General and special taxes and assessments for the fiscal year 2017-2018.

     First Installment:                    $6,541.42, PAID
     Penalty:                              $0.00
     Second Installment:                   $6,541.41, PAID
     Penalty:                              $0.00
     Tax Rate Area:                        01-01797
     A. P. No.:                            5359-028-037

2.   This report is preparatory to the issuance of an ALTA Loan Policy. We have no knowledge of any fact
     which would preclude the issuance of the policy with CLTA endorsement forms 100 and 116 and if
     applicable, 115 and 116.2 attached.

     When issued, the CLTA endorsement form 116 or 116.2, if applicable will reference a(n) Multi Family
     Residence known as 1806 S. CHAPEL AVENUE, ALHAMBRA, CA.

3.   According to the public records, there has been no conveyance of the land within a period of twenty-
     four months prior to the date of this report, except as follows:

     None

     NOTE to proposed insured lender only: No Private transfer fee covenant, as defined in Federal
     Housing Finance Agency Final Rule 12 CFR Part 1228, that was created and first appears in the Public
     Records on or after February 8, 2011, encumbers the Title except as follows: None

 The map attached, if any, may or may not be a survey of the land depicted hereon. First American
 expressly disclaims any liability for loss or damage which may result from reliance on this map except to
 the extent coverage for such loss or damage is expressly provided by the terms and provisions of the title
 insurance policy, if any, to which this map is attached.




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                                              LEGAL DESCRIPTION

     Real property in the City of Alhambra, County of Los Angeles, State of California, described as follows:

     LOT 12 OF TRACT NO. 5459, IN THE CITY OF ALHAMBRA, COUNTY OF LOS ANGELES, STATE OF
     CALIFORNIA, AS PER MAP RECORDED IN BOOK 59, PAGE(S) 6 OF MAPS, IN THE OFFICE OF THE
     COUNTY RECORDER OF SAID COUNTY.

     EXCEPT THEREFROM THE SOUTH 30 FEET OF THE WEST 125 FEET THEREOF.

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                                                       NOTICE

    Section 12413.1 of the California Insurance Code, effective January 1, 1990, requires that any title insurance
    company, underwritten title company, or controlled escrow company handling funds in an escrow or sub-
    escrow capacity, wait a specified number of days after depositing funds, before recording any documents in
    connection with the transaction or disbursing funds. This statute allows for funds deposited by wire transfer
    to be disbursed the same day as deposit. In the case of cashier's checks or certified checks, funds may be
    disbursed the next day after deposit. In order to avoid unnecessary delays of three to seven days, or more,
    please use wire transfer, cashier's checks, or certified checks whenever possible.




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                                                                 EXHIBIT A
                                         LIST OF PRINTED EXCEPTIONS AND EXCLUSIONS (BY POLICY TYPE)


                                             CLTA STANDARD COVERAGE POLICY – 1990
                                                    EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs,
attorneys' fees or expenses which arise by reason of:
1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations)
           restricting, regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or
           location of any improvement now or hereafter erected on the land; (iii) a separation in ownership or a change in the
           dimensions or area of the land or any parcel of which the land is or was a part; or (iv) environmental protection, or the effect
           of any violation of these laws, ordinances or governmental regulations, except to the extent that a notice of the enforcement
           thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged violation affecting the land has been
           recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice
           of a defect, lien or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the
           public records at Date of Policy.
2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not
     excluding from coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser
     for value without knowledge.
3. Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured
           claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not
           disclosed in writing to the Company by the insured claimant prior to the date the insured claimant became an insured under
           this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d)   attaching or created subsequent to Date of Policy; or
     (e)   resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured
           mortgage or for the estate or interest insured by this policy.
4.   Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability
     or failure of any subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the
     land is situated.
5.   Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by
     the insured mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6.   Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction
     creating the interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors'
     rights laws.
                                            EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by
reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments
     on real property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by
     the records of such agency or by the public, records.
2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of
     the land or which may be asserted by persons in possession thereof.
3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4.   Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would
     disclose, and which are not shown by the public records.
5.   (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights,
     claims or title to water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6.   Any lien or right to a lien for services, labor or material not shown by the public records.




                                   CLTA/ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                                          EXCLUSIONS

In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;



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     d. improvements on the Land;
     e. land division; and
     f. environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2.   The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion
     does not limit the coverage described in Covered Risk 14 or 15.
3.   The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4.   Risks:
     a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;
     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
     This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
     insolvency, or similar creditors' rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.


                                                    LIMITATIONS ON COVERED RISKS

Your insurance for the following Covered Risks is limited on the Owner's Coverage Statement as follows:
For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:

                                                  Your Deductible Amount                              Our Maximum Dollar Limit of Liability

Covered Risk 16:                    1% of Policy Amount Shown in Schedule A or $2,500                                $10,000
                                                    (whichever is less)

Covered Risk 18:                    1% of Policy Amount Shown in Schedule A or $5,000                                $25,000
                                                    (whichever is less)

Covered Risk 19:                    1% of Policy Amount Shown in Schedule A or $5,000                                $25,000
                                                    (whichever is less)

Covered Risk 21:                    1% of Policy Amount Shown in Schedule A or $2,500                                 $5,000
                                                    (whichever is less)




                                                   2006 ALTA LOAN POLICY (06-17-06)
                                                       EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys'
fees, or expenses that arise by reason of:

1.   (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting,
     or relating to

          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;

     or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
     provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2.   Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3.   Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
     writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;



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      (c) resulting in no loss or damage to the Insured Claimant;
      (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11,
      13, or 14); or
      (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4.    Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business
      laws of the state where the Land is situated.
5.    Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the
      Insured Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6.    Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors' rights laws, that the transaction creating the
      lien of the Insured Mortgage, is
      (a) a fraudulent conveyance or fraudulent transfer, or
      (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7.    Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy
      and the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under
      Covered Risk 11(b).


The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
[Except as provided in Schedule B - Part II,[ t[or T]his policy does not insure against loss or damage, and the Company will not pay costs,
attorneys' fees or expenses, that arise by reason of:
                                                                     [PART I
[The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such
     proceedings, whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or
     that may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or
     title to water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the public records.


                                                                         PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against loss
or damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:]




                                                  2006 ALTA OWNER'S POLICY (06-17-06)
                                                        EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys'
fees, or expenses that arise by reason of:

1.    (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting,
      or relating to

           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;

      or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
      provided under Covered Risk 5.
      (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2.    Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3.    Defects, liens, encumbrances, adverse claims, or other matters
      (a) created, suffered, assumed, or agreed to by the Insured Claimant;
      (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
      writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;



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      (c) resulting in no loss or damage to the Insured Claimant;
      (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 or
      10); or
      (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4.    Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors' rights laws, that the transaction vesting the
      Title as shown in Schedule A, is
      (a) a fraudulent conveyance or fraudulent transfer, or
      (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5.    Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy
      and the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.


The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE

This policy does not insure against loss or damage, and the Company will not pay costs, attorneys' fees or expenses, that arise by reason of:
[The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

1.    (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
      property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such
      proceedings, whether or not shown by the records of such agency or by the Public Records.
2.    Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or
      that may be asserted by persons in possession of the Land.
3.    Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4.    Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
      complete land survey of the Land and not shown by the Public Records.
5.    (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or
      title to water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6.    Any lien or right to a lien for services, labor or material not shown by the Public Records.
7.    [Variable exceptions such as taxes, easements, CC&R's, etc. shown here.]


                                 ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY (07-26-10)
                                                 EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys'
fees, or expenses that arise by reason of:

1.    (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting,
      or relating to

           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;

      or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the
      coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
      (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d),
      14 or 16.
2.    Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3.    Defects, liens, encumbrances, adverse claims, or other matters
      (a) created, suffered, assumed, or agreed to by the Insured Claimant;
      (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
      writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
      (c) resulting in no loss or damage to the Insured Claimant;
      (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11,
      16, 17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
      (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4.    Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business
      laws of the state where the Land is situated.
5.    Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the
      Insured Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit
      the coverage provided in Covered Risk 26.
6.    Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the


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    Insured has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This
    Exclusion does not modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
    Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with
    applicable building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors' rights laws, that the transaction creating the
    lien of the Insured Mortgage, is
    (a) a fraudulent conveyance or fraudulent transfer, or
    (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10. Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11. Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




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Privacy Information
We Are Committed to Safeguarding Customer Information
In order to better serve your needs now and in the future, we may ask you to provide us with certain information. We understand that you may be concerned about what we will do with such
information - particularly any personal or financial information. We agree that you have a right to know how we will utilize the personal information you provide to us. Therefore, together with our
subsidiaries we have adopted this Privacy Policy to govern the use and handling of your personal information.

Applicability
This Privacy Policy governs our use of the information that you provide to us. It does not govern the manner in which we may use information we have obtained from any other source, such as
information obtained from a public record or from another person or entity. First American has also adopted broader guidelines that govern our use of personal information regardless of its source.
First American calls these guidelines its Fair Information Values.

Types of Information
Depending upon which of our services you are utilizing, the types of nonpublic personal information that we may collect include:
              Information we receive from you on applications, forms and in other communications to us, whether in writing, in person, by telephone or any other means;
              Information about your transactions with us, our affiliated companies, or others; and
              Information we receive from a consumer reporting agency.
Use of Information
We request information from you for our own legitimate business purposes and not for the benefit of any nonaffiliated party. Therefore, we will not release your information to nonaffiliated parties
except: (1) as necessary for us to provide the product or service you have requested of us; or (2) as permitted by law. We may, however, store such information indefinitely, including the period
after which any customer relationship has ceased. Such information may be used for any internal purpose, such as quality control efforts or customer analysis. We may also provide all of the types of
nonpublic personal information listed above to one or more of our affiliated companies. Such affiliated companies include financial service providers, such as title insurers, property and casualty
insurers, and trust and investment advisory companies, or companies involved in real estate services, such as appraisal companies, home warranty companies and escrow companies. Furthermore,
we may also provide all the information we collect, as described above, to companies that perform marketing services on our behalf, on behalf of our affiliated companies or to other financial
institutions with whom we or our affiliated companies have joint marketing agreements.

Former Customers
Even if you are no longer our customer, our Privacy Policy will continue to apply to you.

Confidentiality and Security
We will use our best efforts to ensure that no unauthorized parties have access to any of your information. We restrict access to nonpublic personal information about you to those individuals and
entities who need to know that information to provide products or services to you. We will use our best efforts to train and oversee our employees and agents to ensure that your information will be
handled responsibly and in accordance with this Privacy Policy and First American's Fair Information Values. We currently maintain physical, electronic, and procedural safeguards that comply with
federal regulations to guard your nonpublic personal information.

Information Obtained Through Our Web Site
First American Financial Corporation is sensitive to privacy issues on the Internet. We believe it is important you know how we treat the information about you we receive on the Internet.
In general, you can visit First American or its affiliates’ Web sites on the World Wide Web without telling us who you are or revealing any information about yourself. Our Web servers collect the
domain names, not the e-mail addresses, of visitors. This information is aggregated to measure the number of visits, average time spent on the site, pages viewed and similar information. First
American uses this information to measure the use of our site and to develop ideas to improve the content of our site.
There are times, however, when we may need information from you, such as your name and email address. When information is needed, we will use our best efforts to let you know at the time of
collection how we will use the personal information. Usually, the personal information we collect is used only by us to respond to your inquiry, process an order or allow you to access specific
account/profile information. If you choose to share any personal information with us, we will only use it in accordance with the policies outlined above.

Business Relationships
First American Financial Corporation's site and its affiliates' sites may contain links to other Web sites. While we try to link only to sites that share our high standards and respect for privacy, we are
not responsible for the content or the privacy practices employed by other sites.

Cookies
Some of First American's Web sites may make use of "cookie" technology to measure site activity and to customize information to your personal tastes. A cookie is an element of data that a Web site
can send to your browser, which may then store the cookie on your hard drive.
FirstAm.com uses stored cookies. The goal of this technology is to better serve you when visiting our site, save you time when you are here and to provide you with a more meaningful and
productive Web site experience.
--------------------------------------------------------------------------------
Fair Information Values
Fairness We consider consumer expectations about their privacy in all our businesses. We only offer products and services that assure a favorable balance between consumer benefits and consumer
privacy.
Public Record We believe that an open public record creates significant value for society, enhances consumer choice and creates consumer opportunity. We actively support an open public record
and emphasize its importance and contribution to our economy.
Use We believe we should behave responsibly when we use information about a consumer in our business. We will obey the laws governing the collection, use and dissemination of data.
Accuracy We will take reasonable steps to help assure the accuracy of the data we collect, use and disseminate. Where possible, we will take reasonable steps to correct inaccurate information.
When, as with the public record, we cannot correct inaccurate information, we will take all reasonable steps to assist consumers in identifying the source of the erroneous data so that the consumer
can secure the required corrections.
Education We endeavor to educate the users of our products and services, our employees and others in our industry about the importance of consumer privacy. We will instruct our employees on
our fair information values and on the responsible collection and use of data. We will encourage others in our industry to collect and use information in a responsible manner.
Security We will maintain appropriate facilities and systems to protect against unauthorized access to and corruption of the data we maintain.

Form 50-PRIVACY (9/1/10)                                                      Page 1 of 1                                Privacy Information (2001-2010 First American Financial Corporation)




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                          EXHIBIT 5
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                                                                    1 Jeffrey I. Golden, State Bar No. 133040
                                                                      jgolden@wgllp.com
                                                                    2 Beth E. Gaschen, State Bar No. 245894
                                                                      bgaschen@wgllp.com                                       FILED & ENTERED
                                                                    3 WEILAND GOLDEN GOODRICH LLP
                                                                      650 Town Center Drive, Suite 600
                                                                    4 Costa Mesa, California 92626                                  AUG 27 2018
                                                                      Telephone 714-966-1000
                                                                    5 Facsimile      714-966-1002
                                                                                                                               CLERK U.S. BANKRUPTCY COURT
                                                                                                                               Central District of California
                                                                    6 Attorneys for Chapter 7 Trustee                          BY gonzalez DEPUTY CLERK
                                                                      David M. Goodrich
                                                                    7
                                                                                                                         CHANGES MADE BY COURT
                                                                    8                         UNITED STATES BANKRUPTCY COURT

                                                                    9                          CENTRAL DISTRICT OF CALIFORNIA

                                                                   10                                   LOS ANGELES DIVISION

                                                                   11 In re                                       Case No. 2:17-bk-24396-ER
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 CRESTALLIANCE, LLC,                         Chapter 7
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13               Debtor.                       ORDER GRANTING CHAPTER 7
                                                                                                                  TRUSTEE’S AMENDED MOTION FOR
                                                                   14                                             ORDER:

                                                                   15                                             (1) AUTHORIZING SALE OF REAL
                              Tel 714-966-1000




                                                                                                                      PROPERTY FREE AND CLEAR OF
                                                                   16                                                 LIENS, CLAIMS, AND INTERESTS
                                                                                                                      PURSUANT TO 11 U.S.C. §§ 363(b)
                                                                   17                                                 AND (f);
                                                                                                                  (2) APPROVING OVERBID
                                                                   18                                                 PROCEDURES;
                                                                                                                  (3) APPROVING BUYER, SUCCESSFUL
                                                                   19                                                 BIDDER, AND BACK-UP BIDDER AS
                                                                                                                      GOOD-FAITH PURCHASER
                                                                   20                                                 PURSUANT TO 11 U.S.C. § 363(m);
                                                                                                                      AND
                                                                   21                                             (4) AUTHORIZING PAYMENT OF
                                                                                                                      UNDISPUTED LIENS, REAL ESTATE
                                                                   22                                                 BROKER'S COMMISSIONS AND
                                                                                                                      OTHER ORDINARY COSTS OF SALE
                                                                   23
                                                                                                                  [1806 S. Chapel Avenue, Alhambra,
                                                                   24                                             California 91801]

                                                                   25                                             DATE: August 15, 2018
                                                                                                                  TIME: 11:00 a.m.
                                                                   26                                             CTRM: 1568

                                                                   27

                                                                   28
                                                                        1180575.2                                1                                              ORDER

                                                                                                    EXHIBIT 5, PAGE 39
                                                                   Case
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                                                                    1             On August 15, 2018, at 11:00 a.m. in Courtroom 1568 of the United States

                                                                    2 Bankruptcy Court located at 255 East Temple Street, Los Angeles, California 90012, the

                                                                    3 Court heard the Chapter 7 Trustee’s Amended Motion for Order: (1) Authorizing Sale of

                                                                    4 Real Property Free and Clear of Liens, Claims, and Interests Pursuant to 11 U.S.C.

                                                                    5 §§ 363(b) and (f); (2) Approving Overbid Procedures; (3) Approving Buyer, Successful

                                                                    6 Bidder, and Back-up Bidder as Good-Faith Purchaser Pursuant to 11 U.S.C. § 363(m);

                                                                    7 and (4) Authorizing Payment of Undisputed Liens, Real Estate Broker’s Commissions and

                                                                    8 Other Ordinary Costs of Sale (the “Motion”)1 filed by David M. Goodrich, the chapter 7

                                                                    9 trustee (the “Trustee”) for the estate (the “Estate”) of Crestalliance, LLC (the “Debtor”).

                                                                   10 Appearances are as noted on the record.

                                                                   11             The Court having read and considered the Motion and all other papers and
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 evidence filed with respect to the Motion and in opposition thereto, having heard
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 statements and agreements of counsel, finding that notice and service of the Motion were

                                                                   14 proper and adequate, and for the reasons set forth in the tentative ruling, which the Court

                                                                   15 adopts as its final ruling and incorporates by reference [Doc. No. 114], and for good cause
                              Tel 714-966-1000




                                                                   16 shown,

                                                                   17             IT IS ORDERED:

                                                                   18             1.      The Motion is granted in its entirety;

                                                                   19             2.      The Conditional Non-Opposition to the Motion filed by Ocwen Loan

                                                                   20 Servicing, LLC [Docket No. 107] is overruled;

                                                                   21             3.      Pursuant to the Transfers, specifically, the quitclaim deed dated March 20,

                                                                   22 2015, executed by Rhemata, LLC, as grantor to Crestalliance, LLC, as grantee, recorded

                                                                   23 May 14, 2015, Instrument No. 15-562348 of Official Records, title to the Property is vested

                                                                   24 100% in the Debtor;

                                                                   25

                                                                   26
                                                                   27
                                                                            1
                                                                                All capitalized terms not otherwise expressly defined herein shall have the meaning ascribed to them
                                                                   28 in the Motion.
                                                                        1180575.2                                              2                                              ORDER

                                                                                                               EXHIBIT 5, PAGE 40
                                                                   Case
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                                                                    1           4.      The Property is property of the Estate and the Trustee may sell the Property

                                                                    2 for the benefit of the Estate’s creditors;

                                                                    3           5.      The terms of the Purchase Agreement attached as Exhibit 4 to the Motion

                                                                    4 are approved;

                                                                    5           6.      The Trustee is authorized to sell the Property to Yunying Chen (the

                                                                    6 “Successful Bidder”) for the purchase price of $1,170,000 (the “Successful Bid”), or

                                                                    7 Alexandra Yeung (the “Back-Up Bidder”) for the purchase price of $1,160,000 (“Back-Up

                                                                    8 Bid”), “as is,” “where is,” “with all faults,” and without warranty or recourse, but free and

                                                                    9 clear of any and all liens, claims, and interests, together with improvements, as well as all

                                                                   10 easements and appurtenances, pursuant to 11 U.S.C. §§ 363(b) and (f), including, without

                                                                   11 limitation:
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12                   (a)     The Ocwen Lien recorded in the Los Angeles County Records on
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13           January 24, 2007, as Instrument No. 07-146497;

                                                                   14                   (b)     The FTB Lien recorded in the Los Angeles County Records on May 4,

                                                                   15           2018, as Instrument No. 18-438302;
                              Tel 714-966-1000




                                                                   16                   (c)     The Liu Lien recorded in the Los Angeles County Records on

                                                                   17           February 4, 2016, as Instrument No. 16-128885;

                                                                   18                   (d)     The Huang Lien recorded in the Los Angeles County Records on

                                                                   19           January 4, 2017, as Instrument No. 17-10595;

                                                                   20           7.      The Trustee is authorized to pay, through escrow, from the proceeds of the

                                                                   21 sale of the Property and without further order of the Court, the Ocwen Lien2, the FTB Lien,

                                                                   22 and any undisputed portions of the Liu Lien and the Huang Lien (to the extent evidence of

                                                                   23 the validity of the liens is provided to the Trustee), real property taxes and assessments

                                                                   24 prorated as of the close of escrow, broker’s commission, and any escrow fees, title

                                                                   25 insurance premiums, and other ordinary and typical closing costs and expenses payable

                                                                   26
                                                                   27       2
                                                                              To the extent that there is any dispute over the payoff demand provided by Ocwen, all undisputed
                                                                        portions will be paid through escrow and the disputed portions will be held by escrow subject to the Ocwen
                                                                   28   Lien until further Court order or agreement of the parties.
                                                                        1180575.2                                            3                                              ORDER

                                                                                                             EXHIBIT 5, PAGE 41
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                                                                    1 by the Trustee pursuant to the Purchase Agreement or in accordance with local custom.

                                                                    2 The sale proceeds remaining after payment of these items shall constitute the net sale

                                                                    3 proceeds (the “Net Proceeds”). The Net Proceeds will not be disbursed without further

                                                                    4 order of this Court;

                                                                    5           8.    The Successful Bidder and the Back-Up Bidder are “good faith purchasers”

                                                                    6 pursuant to 11 U.S.C. § 363(m);

                                                                    7           9.    The Trustee is authorized to return any Overbid Deposit without further order

                                                                    8 of the Court to those whose bids are not deemed to be the Successful Bid or the Back-Up

                                                                    9 Bid;

                                                                   10           10.   To the extent there is any tax liability to the Estate from the sale, the Trustee

                                                                   11 is authorized to pay such taxes from the Net Proceeds;
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12           11.   Any unpaid portion of the Liu Lien and the Huang Lien shall attach to the Net
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 Proceeds in the same value, priority and scope as such liens currently exist against the

                                                                   14 Property, subject to any and all rights of the Trustee to object to, dispute, or subordinate

                                                                   15 such liens;
                              Tel 714-966-1000




                                                                   16           12.   The Trustee reserves the right to object to the validity, scope and priority of

                                                                   17 all disputed liens, claims and interests;

                                                                   18           13.   The overbid procedures outlined in the Amended Motion are approved;

                                                                   19           14.   The Trustee is authorized to take any and all necessary actions to

                                                                   20 consummate the sale of the Property;

                                                                   21           15.   The Trustee is authorized to turn over the Tenant Deposits to the Successful

                                                                   22 Bidder or the Back-Up Bidder;

                                                                   23           16.   The requirements for lodging periods imposed by Local Bankruptcy Rule

                                                                   24 9021-1 and any other applicable bankruptcy rules are waived; and

                                                                   25           17.   The stay imposed by Federal Rule of Bankruptcy Procedure 6004(h) and

                                                                   26 any other applicable bankruptcy rules are waived.
                                                                   27

                                                                   28
                                                                        1180575.2                                     4                                         ORDER

                                                                                                        EXHIBIT 5, PAGE 42
                                                                   Case
                                                                    Case2:17-bk-24396-ER
                                                                         2:19-ap-01290-ER Doc
                                                                                           Doc119   Filed08/29/19
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Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




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                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




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                                                                   24    Date: August 27, 2018

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                                                                        1180575.2                               5                                 ORDER

                                                                                                   EXHIBIT 5, PAGE 43
         Case 2:19-ap-01290-ER                         Doc 1 Filed 08/29/19 Entered 08/29/19 15:50:13                                    Desc
                                                       Main Document    Page 49 of 50
  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
David M. Goodrich, solely in his capacity as Chapter 7 Trustee of               Nancy Liu
the Estate of Crestalliance, LLC


ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
Weiland Golden Goodrich LLP
650 Town Center Dr., Ste. 600, Costa Mesa, CA 92626
(714) 966-1000
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □X Creditor   □ Other
□X Trustee                                         □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Declaratory relief




                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                     □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                               □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                      □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                         □
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                □
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                □
                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                                □
                                                                                   71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                   72-Injunctive relief – other


□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □1 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                Demand $
Other Relief Sought
       Case 2:19-ap-01290-ER                Doc 1 Filed 08/29/19 Entered 08/29/19 15:50:13                              Desc
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
Crestalliance, LLC                                                     2:17-bk-24396-ER
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
   Central                                                             Los Angeles                       Ernest M. Robles
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)

        /s/ Beth E. Gaschen




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
  August 29, 2019                                                        Beth E. Gaschen




                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
